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UNITED STATES BISTRICT COURT
MIDDLE DISTRICT OF FLORIDA:
JACKSONVILLE DIVISION .

BILL. NORKUNAS, INDIVIDUALLY,
Plaintiff,
¥,

OMNI AMELIA ISLAND, LLC, A
FOREIGN LIMITED LIABILITY
COMPANY, AND AMELIA ISLAND
MANAGEMENT, LLC, A FOREIGN
LIMITED LIABILITY COMPANY.

CASE NO: 3:11-cv-00531-J-34MCR

Nefendant.

 

STIPULATION OF DISMISSAL WITH PREJUDICE
Defendants AMELIA ISLAND MANAGEMENT, LLC and OMNI AMELIA ISLAND,

LLC and Plaintiff BILL NORKUNAS, through themselves and/or undersigned counsel, stipulate
under Rule 41(a)(1)(ii) to the dismissal with prejudice of this action due to a settlement. This
Stipulation is signed by all parties who have appeared in this action. Each party will be
responsible for their own attorneys’ fees and costs, except as otherwise agreed to as part of the

settlement of this action.

 
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DATED this 20° aay of December 2011.

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Thomas B. Bacon
Thomas B. Bacon, P.A.
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Cooper City, FL 33328

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Respectiully submitted.

/sf Ron Chapman, Jr.

Ron Chapman, Jr,
Admitted Pro Hae Vice

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